  Case 19-80162       Doc 15   Filed 02/13/19 Entered 02/13/19 15:39:40              Desc Main
                                  Document Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Western Division

In Re:                                       )               BK No.:      19-80162
David M Seymour                              )
Alexzandria Seymour                          )               Chapter: 7
                                             )
                                                             Honorable Thomas M. Lynch
                                             )
                                             )
               Debtor(s)                     )

                           ORDER MODIFYING THE AUTOMATIC STAY

        THIS CAUSE coming to be heard on the motion of Nationstar Mortgage LLC d/b/a Mr. Cooper,
a secured creditor herein, for relief from the automatic stay, the Court having jurisdiction over the
subject matter and due notice having been given:

WHEREFORE, IT IS HEREBY ORDERED:
(1) Pursuant to 11 U.S.C. Section 362(d), that Nationstar Mortgage LLC d/b/a Mr. Cooper its
principals, agents, successors and/or assigns is granted relief from the automatic stay provisions of 11
U.S.C. Section 362(a) by modifying said stay to permit them to pursue all non bankruptcy remedies and
work out options as to the property commonly known as 3080 Hamlin Dr, Machesney Park, IL 61115.

(2) Rule 4001(a)(3) is waived.

  This Order is effective as of March 29, 2019.



                                                          Enter:


                                                                   Honorable Thomas M. Lynch
Dated: February 13, 2019                                           United States Bankruptcy Judge

 Prepared by:
 Laura A. Hrisko ARDC#6230993
 Codilis & Associates, P.C.
 15W030 North Frontage Road, Suite 100
 Burr Ridge, IL 60527
 (630) 794-5300
 C&A FILE(14-18-13677)
